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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,                               )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )    Civil Action No. 2:21-CV-463-JRG
                                             )
SAMSUNG ELECTRONICS CO., LTD.,               )
SAMSUNG ELECTRONICS AMERICA,                 )
INC., SAMSUNG SEMICONDUCTOR,                 )
INC.,                                        )
                                             )
               Defendants.                   )

                                            ORDER

       Before the Court is the parties’ Joint Motion to Amend Docket Control Order (the

"Motion").   (Dkt. No. 190.)    In the Motion, the parties request that the Court amend the

Docket Control Order. (Id. at 1.) Having considered the Motion, and in light of its joint nature,

the Court finds that it should be and hereby is GRANTED. Accordingly, the deadlines in the

above-captioned case are amended as follows:
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  Previous deadline     New deadline                             Event

 May 1, 2023          No Change              Jury Selection – 9:00 a.m. in Marshall,
                                             Texas
 April 3, 2023        No Change              * If a juror questionnaire is to be used, an
                                             editable (in Microsoft Word format)
                                             questionnaire shall be jointly submitted to
                                             the Deputy Clerk in Charge by this date.
 March 27, 2023       No Change              *Pretrial Conference – 9:00 a.m. in

                                             Marshall,

                                             Texas before Judge Rodney Gilstrap
 March 20, 2023       No Change              *Notify Court of Agreements Reached

                                             During Meet and Confer

                                             The parties are ordered to meet and confer
                                             on any outstanding objections or motions in
                                             limine. The parties shall advise the Court of
                                             any agreements reached no later than 1:00
                                             p.m. three (3) business days before the
                                             pretrial conference.
 March 20, 2023       No Change              *File Joint Pretrial Order, Joint Proposed

                                             JuryInstructions, Joint Proposed Verdict

                                             Form, Responses to Motions in Limine,

                                             Updated Exhibit Lists, Updated Witness

                                             Lists, and Updated Deposition Designations




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 March 13, 2023      No Change             *File Notice of Request for Daily Transcript

                                           or Real Time Reporting.

                                           If a daily transcript or real time reporting of

                                           court proceedings is requested for trial, the

                                           party or parties making said request shall

                                           file a notice with the Court and e-mail the

                                           Court Reporter, Shawn McRoberts, at

                                           shawn_mcroberts@txed.uscourts.gov.

 March 10, 2023      No Change             File Motions in Limine

                                           The parties shall limit their motions in
                                           limine to issues that if improperly
                                           introduced at trial would be so prejudicial
                                           that the Court could not alleviate the
                                           prejudice by giving appropriate instructions
                                           to the jury.
 March 6, 2023       No Change             Serve Objections to Rebuttal Pretrial
                                           Disclosures
 February 27, 2023   No Change             Serve Objections to Pretrial Disclosures;

                                           and Serve Rebuttal Pretrial Disclosures


 February 13, 2023   No Change             Serve Pretrial Disclosures (Witness List,

                                           Deposition Designations, and Exhibit List)
                                           by the Party with the Burden of Proof




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 February 17, 2023    No Change                   *Response to Dispositive Motions

                                                  (including Daubert Motions). Responses to

                                                  dispositive motions that were filed prior to

                                                  the dispositive motion deadline, including

                                                  Daubert Motions, shall be due in

                                                  accordance with Local Rule CV- 7(e), not to

                                                  exceed the deadline as set forth in this

                                                  Docket Control Order. Motions for

                                                  Summary Judgment shall comply with

                                                  Local Rule CV-56.

 February 3, 2023     No Change                   *File Motions to Strike Expert

                                                  Testimony(including Daubert Motions)

                                                  No motion to strike expert testimony
                                                  (including a Daubert motion) may be filed
                                                  after this date without leave of the Court.
 February 3, 2023     No Change                   *File Dispositive Motions

                                                  No dispositive motion may be filed after

                                                  this date without leave of the Court.

                                                  Motions shall comply with Local Rule CV-
                                                  56 and Local Rule CV-7. Motions to extend
                                                  page limits will only be granted in
                                                  exceptional circumstances. Exceptional
                                                  circumstances require more than agreement
                                                  among the parties.
   February 3, 2023     February 10, 2023         Deadline to Complete Expert Discovery for
                                                  Infringement and Validity Expert(s) in
                                                  connection with the ’918, ’054, ’506, and
                                                  ’339 patents, including Mr. Halbert and
                                                  rebuttal thereto.
   February 3, 2023     February 10, 2023         Deadline to Complete Expert Discovery as
                                                  to Samsung’s Non-Infringement Expert in

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                                            connection with U.S. Patent Nos. 8,787,060
                                            and 9,318,160; Samsung’s Damages-
                                            Related Experts; Netlist’s Expert(s) in
                                            connection with U.S. Patent Nos. 8,787,060
                                            and 9,318,160; and Netlist’s Damages-
                                            Related Experts.



    So ORDERED and SIGNED this 2nd day of February, 2023.




                                              ____________________________________
                                              RODNEY GILSTRAP
                                              UNITED STATES DISTRICT JUDGE




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